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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOUR_I
EASTERN DIVISION

SHERRY LYNN AMANN,
Plaintiff,
vs.
SHEKO TRUCKING, INC., dfb/a No:
A & R EXPRESS,
SERVE:
Andriatik Sheko, Registered Agent,

100 Chestnut Ridge,
Walled Lake, Michigan 48390,

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Defendant.
COMPLAINT
COUNT I

Comes now plaintiff and for her cause of action in Count I against
defendant states:

1. That at all times herein mentioned defendant was a duly authorized and
existing business corporation, incorporated in the State of Michiga.n, with its registered
agent, Andriatick Sheko being located at 100 Chestnut Ridge, Walled Lake, Michigan
48390, and having its business address at 27211 Northline Road, Taylor, Michigan
48180.

2. That at all times herein mentioned Patrick E. Renekiewicz was the agent,
servant and employee of defendant operating a tractor-trailer unit within the scope and
course of his employment and/or agency for defendant.

3. That on or about August 19, 2006 Patrick E. Renekiewicz was operating a

tractor-trailer unit for defendant over and along Interstate 44 near route C, both open and

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public streets and highways in the State of Missouri when the tractor-trailer being so
operated collided with an automobile operated by plaintiff

4. That the aforesaid collision was due to the negligence and carelessness of
defendant’s agent, servant and employee as aforesaid in that he was negligent per se in
violating the posted speed limit of 70 miles an hour, drove at an excessive speed under
the circumstances, failed to keep a careful lookout, followed a vehicle ahead too closely,
and failed to stop his vehicle, slacken the speed thereof, or swerve the same when by so
doing collision with plaintiffs vehicle would have been avoided.

5. That as a direct result of the aforesaid collision plaintiff was caused to
suffer injuries to her cervical and thoracic spine, including comminuted, dislocated
fractures of C5 and C6 with locked facets, fractures of Tl, TZ, and T3, and all the skin,
bones, joints, muscles, discs, ligaments, cartilages, tendons, nerves, vessels and other soft
tissues thereof were severely tom, ruptured, abraded, swollen and made painful; that
plaintiff was required to undergo necessary cervical fusion surgery; that plaintiffs head
and body suffered bruises, contusions, abrasions and lacerations; that all of plaintiff s
injuries to her cervical and thoracic spine are serious, painful, permanent and disabling
and will cause plaintiff disability in the future; that plaintiffs ability to work and labor
and her earning capacity and enjoyment of life were temporarily destroyed and are
permanently impaired.

6. That plaintiff has become obligated for necessary medical, hospital and
surgical care and treatment in the reasonable sum of approximately $l25,000.00 to date,
and in the future will become further obligated for necessary medical, hospital and

surgical care and treatment in reasonable amounts; plaintiff has incurred lost earnings in

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the approximate sum of $5,000.00 to date and in the future will be caused to lose further
earnings from her gainful occupation

7. That plaintiff is entitled to pre-judgment interest.

WHEREFORE, plaintiff prays judgment against defendant in Count I herein in a
sum in excess of $75,000.00 and such further sum that is fair and reasonable, together
with pre-judgment interest and her costs.

COUNT II

Comes now plaintiff and for her cause of action against defendant in Count ll
states:

l. Repleads, realleges and incorporates by reference all the allegations
contained in Count I herein.

2. That by reason of the conduct of defendant’s agent, servant and employee
as aforesaid in violating the posted speed limit, defendant by and through defendant’s
agent, servant and employee was reckless and showed total indifference and conscious
disregard for the safety of others, entitling plaintiff to punitive or exemplary damages in
addition to her compensatory damages

WHEREFOR_E, plaintiff prays judgment against defendant in Count ll herein for
punitive or exemplary damages in addition to her compensatory damages in a sum in
excess of SEVENTY FIVE THOUSAND DOLLARS ($75,000.00), and such further sum
that is fair and reasonable, together with pre-judgment interest and costs.

DONALD L. SCHLAPPRIZZI, P.C.
Attorney for Plaintiff

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